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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-112-PB

Michael Roux, et al.



                               O R D E R

     Defendant, Michael Roux, has moved through counsel to

continue the trial scheduled for April 6, 2010, citing a

scheduling conflict and the need for additional time to compile

background information which may impact defendant’s guideline

sentencing range.   The government and co-defendants do not object

to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from April 6, 2010 to June 1, 2010.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The March 23, 2010 final pretrial conference is continued to

May 18, 2010 at 4:00 p.m.      No further continuances.

      SO ORDERED.



                                         Paul Barbadoro
                                         United States District Judge

March 11, 2010

cc:   Counsel of Record
      United States Probation
      United States Marshal




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